        Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 1 of 55




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ERICA MCCLARTY,
                 Plaintiff,
            v.
TEVA PHARMACEUTICALS USA,                     Case No.:
INC.; TEVA WOMEN’S HEALTH,
INC. d/b/a TEVA WOMEN’S
HEALTH, LLC; TEVA WOMEN’S                     JURY TRIAL DEMANDED
HEALTH, LLC; THE COOPER
COMPANIES, INC.; and
COOPERSURGICAL, INC.,
              Defendants.

                         COMPLAINT FOR DAMAGES

      COMES NOW Plaintiff, Erica McClarty, by and through her counsel, files
this Complaint against Defendants Teva Pharmaceuticals USA, Inc., Teva Women’s
Health, Inc., doing business as Teva Women’s Health, LLC, Teva Women’s Health,
LLC, The Cooper Companies, Inc., and Cooper Surgical, Inc. (collectively
hereinafter “Defendants”), both jointly and severally, as the companies and/or
successors in interest to the companies that designed, developed, manufactured,
tested, labeled, packaged, distributed, marketed and/or sold ParaGard Intrauterine
medical device that was implanted into Plaintiff, and throughout the United States.
Accordingly, Plaintiff alleges and states as follows:
I.    INTRODUCTION
      1.     This is an action for damages relating to the Defendants’ design,
manufacture, surveillance, sale, marketing, advertising, promotion, labeling,



                                          1
        Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 2 of 55




packaging, and distribution of ParaGard Intrauterine medical device (hereinafter
“ParaGard IUD”).
      2.     ParaGard IUD is an intrauterine device, however, it is regulated as a
drug. It is placed into the uterus to prevent conception.
      3.     ParaGard IUD has a propensity to break at the arms upon explant
resulting in serious injuries.
      4.     Plaintiff used ParaGard IUD, and as a result of its use suffered injuries.
II.   GENERAL ALLEGATIONS
      5.     Plaintiff, Erica McClarty (“Plaintiff”), by and through Plaintiff’s
attorneys, Schneider Hammers, LLC brings this action for personal injuries suffered
as a result of using the defective and dangerous ParaGard IUD.
      6.     ParaGard IUD is prescribed to prevent conception, and at all times
relevant hereto, were manufactured, designed, tested, packaged, labeled, marketed,
advertised, promoted, distributed, and sold by Defendants. On information and
belief, Plaintiff used ParaGard IUD resulting in injuries.
III. PARTIES
      7.     At all times relevant to this action, Plaintiff, was an individual, citizen
and resident of the state of Georgia.
      8.     Plaintiff was implanted with ParaGard IUD in 2012. It was removed in
2018, resulting in injuries.
      9.     Defendant Teva Pharmaceuticals USA, Inc. (hereinafter “Teva
Pharmaceuticals” or “Teva USA”) is a Delaware corporation with headquarters
located at 1090 Horsham Rd. in North Wales, Pennsylvania. At times relevant to this
action, Teva USA designed, developed, manufactured and marketed ParaGard IUD
at issue. At times relevant to this action, Teva USA communicated with the United
States Department of Health and Human Services, Food and Drug Administration



                                           2
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 3 of 55




(hereinafter “FDA”) regarding the sale, use, and safety concerns related to ParaGard
IUDs, which includes managing product recalls, investigating adverse events from
ParaGard IUD users, and performing mandatory reporting to FDA regarding
ParaGard IUD.
      10.    At times relevant to this action, Teva USA was involved in regulatory
communications, and medical communications, including but not limited to
communications with physicians, doctors, the FDA and other medical personnel,
which led to activities giving rise to failure to warn, negligence, gross negligence,
common law fraud, negligent misrepresentation, breach of warranty, and a violation
of consumer protection laws.
      11.    Defendant Teva Women’s Health, Inc., is a Delaware corporation with
headquarters located at 425 Privet Rd., in Horsham, Pennsylvania and is and/or was
a wholly owned subsidiary of Teva USA, and/or operated as a successor-in-interest
to Duramed Pharmaceuticals, Inc., a division of Barr Pharmaceuticals, Inc., and/or
assumed Duramed Pharmaceuticals, Inc., a division of Barr Pharmaceuticals, Inc.,
in a name change after its acquisition by Teva USA. Teva Women’s Health, Inc.
converted into Teva Women’s Health, LLC in 2017 and continues to operate as Teva
Women’s Health, LLC. At times relevant to this action, Teva Women’s Health, Inc.
designed, developed, manufactured and marketed ParaGard IUD at issue.
      12.    Defendant Teva Women’s Health, LLC is a Delaware limited liability
company with headquarters located at 425 Privet Rd., in Horsham, Pennsylvania and
is and/or was a wholly owned subsidiary of Defendants Teva Pharmaceuticals. Teva
Women’s Health, LLC is the product of an entity conversion pursuant to Del. Code
Ann. Tit. 8, 266. Teva Women’s Health, Inc., converted into Teva Women’s Health,
LLC and continues to operate as a limited liability company instead of an




                                         3
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 4 of 55




incorporation (Teva Women’s Health, LLC formerly known as Teva Women’s
Health, Inc. collectively hereinafter “Teva Women’s Health”).
      13.   Accordingly, Duramed Pharmaceuticals, Inc., a division of Barr
Pharmaceuticals, Inc., d/b/a Teva Women’s Health Inc., (hereinafter “Duramed”),
acquired FEI Women’s Health in 2005 wherein the asset of ParaGard IUD was
acquired in the deal. Duramed was acquired by Teva USA in 2008 wherein its name
was changed to Teva Women’s Health, Inc., a wholly-owned subsidiary of Teva
USA (Defendants Teva USA and Teva Women’s Health collectively hereinafter
“Teva Defendants”).
      14.   Defendant The Cooper Companies, Inc., (hereinafter “Cooper
Companies”) is a Delaware corporation with headquarters at 6140 Stoneridge Mall
Rd., in Pleasanton, California. Cooper Companies purchased assets and global rights
and business of ParaGard IUD in September 2017 for $1.1 Billion, including their
manufacturing facility in Buffalo, New York.
      15.   Defendant CooperSurgical, Inc., (hereinafter “CooperSurgical”) is a
Delaware corporation with headquarters at 95 Corporate Dr. in Trumbull,
Connecticut and a subsidiary of Defendant Cooper Companies (Defendants Cooper
Companies and CooperSurgical collectively hereinafter “Cooper Defendants”).
      16.   At all times relevant hereto and alleged herein, the Defendants
conducted and continues to conduct substantial business within the state of Georgia,
and within the Northern District of Georgia.
      17.   At times relevant hereto and alleged herein, the Defendants conducted
and continues to regularly conduct substantial business within the state of Georgia,
which included and continues to include, the research, safety surveillance,
manufacture, sale, distribution and marketing of ParaGard IUD, which is distributed




                                         4
        Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 5 of 55




through the stream of interstate commerce into the state of Georgia, and within the
Northern District of Georgia.
      18.    At all relevant times, each Defendant acted in all aspects as the agent
and alter ego of each other.
      19.    The Cooper Defendants are liable as successors-in-interest under the
Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any other
state or federal successor in interest acts or statutes; and the Federal Consumer
Protection Act pursuant to a fraudulent conveyance or transfer of assets.
      20.    Upon reasonable belief, Duramed became Teva Women’s Health, Inc.,
through a name change in 2008. Teva Women’s Health, Inc., then became Teva
Women’s Health, LLC through a conversion in 2017. Teva Women’s Health, LLC
then sold all of its assets including ParaGard IUD to the Cooper Defendants in 2017.
Teva Women’s Health, LLC became a holdings company with no tangible assets.
      21.    The Cooper Defendants knew or should have known that the transfer
and conversion of Teva Women’s Health, Inc, was intended to thwart potential
creditors from having a claim against Teva Women’s Heath, Inc. or Teva Women’s
Health, LLC. Therefore, the Cooper Defendants are liable pursuant to the Federal
Consumer Protection Acts and Georgia Uniform Voidable Transactions Act,
O.C.G.A. §§ 18-2-70 et seq.
      22.    The liability of these companies has passed on through various business
instruments and now lies with both the Teva Defendants and the Cooper Defendants.
      23.    At times relevant and material hereto, Defendants were engaged in the
business of, or were successors-in-interest to entities engaged in the business of,
researching, developing, designing, formulating, licensing, manufacturing, testing,
producing, processing, assembling, packaging, inspecting, distributing, selling,
labeling, monitoring, marketing, promoting, advertising, and/or introducing into



                                         5
          Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 6 of 55




interstate commerce throughout the United States, and in the state of Georgia, and
within the Northern District of Georgia, either directly or indirectly, through third-
parties, subsidiaries and/or related entities, ParaGard IUD, a drug used in the
prevention of pregnancy, implanted in patients throughout the United States,
including Plaintiff.
         24.   At all times alleged herein, Defendants were authorized to conduct or
engage in business within the state of Georgia and supplied ParaGard IUD within
the state of Georgia and the Northern District of Georgia. Defendants received
financial benefit and profits as a result of designing, manufacturing, marketing,
advertising, selling and distributing ParaGard IUD within the state of Georgia, and
the Northern District of Georgia.
         25.   The combined acts and/or omissions of each Defendant resulted in
indivisible injuries to Plaintiff. Each of the above-named Defendants is a joint
tortfeasor and/or co-conspirator and is jointly and severally liable to Plaintiff for the
negligent acts and omissions alleged herein. Each of the above-named Defendants
directed, authorized or ratified the conduct of each and every other Defendant.
         26.   The amount in controversy exceeds the jurisdictional limits of this
court.
IV. JURISDICTION AND VENUE
         27.   Plaintiff incorporates by reference all of the above paragraphs.
         28.   Jurisdiction is proper in this court pursuant to 28 U.S.C. § 1332 as
complete diversity of citizenship exists between Plaintiff and Defendants and the
matter in controversy exceeds the sum of $75,000.00, exclusive of interest and costs.
         29.   This Court has jurisdiction over the non-resident Defendants because
they have conducted business in the state of Georgia. Defendants have committed a




                                            6
        Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 7 of 55




tort in whole or in part in the state of Georgia and have regular and continuing
contacts with Georgia.
      30.    In addition, venue of this case is proper in the state of Georgia pursuant
to 28 U.S.C. § 1391 because a substantial part of the events giving rise to Plaintiff’s
claims occurred in the Northern District of Georgia.
V.    FACTUAL ALLEGATIONS
      31.    ParaGard IUD is an intrauterine drug that can provide long term birth
control, up to 10 years, without hormones.
      32.    ParaGard IUD drug is a T-shaped plastic frame made of polyethylene
and barium sulfate that is inserted into the uterus. Copper wire coiled around the
IUD produces an inflammatory reaction that is toxic to sperm and egg.                 A
monofilament polyethylene thread is tied through the tip, resulting in two white
threads, which aid in the detection and removal of the drug.
      33.    ParaGard IUD has a propensity to break at the arms upon explant
resulting in serious injuries.
      34.    At    relevant      times,   Teva   Defendants    designed,    researched,
manufactured, labeled, packaged, promoted, marketed and/or sold ParaGard IUD at
issue after receiving New Drug Application approval from FDA.
      35.    In 2008, Teva USA became the owner of ParaGard IUD when it
acquired Duramed Pharmaceuticals, Inc., a division of Barr Pharmaceuticals, Inc.,
through its purchase of Barr Pharmaceuticals, Inc.
      36.    Upon information and belief, when Teva USA acquired Duramed, a
division of Barr Pharmaceuticals, Inc., it also acquired Duramed’s manufacturing
facilities, sales force and responsibility for maintaining and updating the labeling for
ParaGard IUD.




                                            7
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 8 of 55




      37.    Shortly thereafter, Teva USA changed the name of Duramed
Pharmaceuticals, Inc., a division of Barr Pharmaceuticals, Inc., to Teva Women’s
Health, Inc., a wholly owned subsidiary of Teva USA.
      38.    On August 31, 2009, Duramed Pharmaceuticals, Inc., filed with the
Ohio Secretary of State a Certificate of Amendment to Foreign Corporation
Application For License requesting a name change. A new entity was not created,
and no entities were dissolved. Duramed’s license number did not change. Instead,
Duramed changed its name to Teva Women’s Health, Inc.
      39.    Upon information and belief, Teva Women’s Health, Inc. is simply a
new name for Duramed.
      40.    Upon information and belief, and for purposes of liability and interest,
Teva Women’s Health, Inc., is the same entity as Teva Women’s Health, LLC. Teva
Women’s Health, Inc., converted into Teva Women’s Health, LLC under the laws
of Delaware. Del. Code Ann. Tit. 8, 266. Pursuant to Del. Code Ann. Tit. 8, 266, a
company that converts from one entity into another is deemed to be a continuation
of the preexisting company. A conversion does not equate to a dissolution and no
winding up takes place. Therefore, Teva Women’s Health, Inc., did not dissolve,
windup, or cease to exist and liability continues from the corporation to the Limited
Liability Company.
      41.    Upon information and belief on August 11, 2017, Teva Women’s
Health, Inc., converted into Teva Women’s Heath, LLC and sold off all of its assets.
      42.    On September 11, 2017, Teva Defendants sold ParaGard IUD to
Cooper Defendants.
      43.    ParaGard IUD is currently sold only in the U.S. and had earned
revenues of approximately $168 million for the twelve-month period ending June
30, 2017.



                                         8
        Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 9 of 55




       44.    The Cooper Defendants still manufacture and sell ParaGard IUD in the
U.S.
       45.    ParaGard IUD was marketed heavily by Defendants as being safe and
effective, and promising fewer side effects than other birth control methods.
       46.    The marketing and promotional efforts of Defendants, their advertisers,
and sales force served to overstate the benefits of ParaGard IUD and minimize and
downplay the risks. These promotional efforts were made while Defendants
fraudulently withheld important safety information from health care providers and
the public.
       47.    Prior to Plaintiff being implanted with ParaGard IUD, Defendants knew
and should have known that the drug was defective and unreasonably dangerous.
       48.    Defendants knew or should have known that ParaGard IUD can and
does cause serious harm to individuals who use it, due to the risk of ParaGard IUD’s
arm breaking upon removal.
       49.    Defendants knew of these risks from the trials they performed, their
post-marketing experience and complaints, third party studies, and their own
analysis of these studies, but took no action to adequately warn or remedy the defects
and instead concealed, suppressed and failed to disclose or fix this danger.
       50.    The product warnings for ParaGard IUD were vague, incomplete or
otherwise wholly inadequate to alert prescribing physicians and patients to the actual
risks associated with ParaGard IUD.
       51.    Defendants’ marketing and promotion, through its own website, sought
to reassure physicians and patients of Defendants’ longstanding record of quality
and safety assurance.




                                          9
          Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 10 of 55




        52.    Based upon these representations, upon which Plaintiff and her
physician relied, Plaintiff had ParaGard IUD implanted, believing it would be safe
and effective, for the entire duration it was implanted and upon removal.
        53.    Since 2010, the FDA has received over 1600 reports of ParaGard IUD
breakage, with over 700 classified as serious.
        54.    Defendants failure to adequately communicate and report to the FDA
the injuries associated with ParaGard IUD resulted in inadequate warnings.
        55.    The Cooper Defendants are also liable as successors-in-interest under
the Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any
other state or federal successor in interest acts or statutes; and the Federal Consumer
Protection Act pursuant to a fraudulent conveyance or transfer of assets.
 VI. PLAINTIFF’S USE OF PARAGARD IUD
     56.       On information and belief, in 2012, Plaintiff was implanted with
Defendants’ ParaGard IUD by a physician.
     57.       Plaintiff, a young and healthy woman, wanted a ParaGard IUD because
it was a reversible form of birth control that would allow her to conceive in the
future.
     58.       In or about April 2018, Plaintiff went to have her annual gynecologic
examination in Atlanta, Georgia. Plaintiff’s healthcare provider informed her that
the ParaGard IUD was malpositioned and needed to be removed.
     59.       Plaintiff’s healthcare provider attempted to remove the ParaGard IUD
as instructed by Defendants, by grasping the ParaGard IUD by the forceps and
pulling gently. Despite following the instructions provided by the Teva Defendants,
only a portion of the ParaGard IUD was retrieved with one arm missing.
     60.       The fragment of the ParaGard IUD still remains within the Plaintiff’s
body.



                                          10
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 11 of 55




     61.     Prior to her procedures, Plaintiff and her doctors were provided with no
warning from the Defendants of the risk of ParaGard IUD failure and injury, nor
were Plaintiff and her doctors provided with adequate warning of the risk of removal
of ParaGard IUD. This information was known or knowable to the Defendants.
     62.     On information and belief, Plaintiff used the ParaGard IUD
manufactured, packaged, marketed, sold and/or distributed by Defendants. The
ParaGard IUD reached Plaintiff without substantial change in the drug’s condition.
     63.     On information and belief, as a direct and proximate result of using
ParaGard IUD, Plaintiff developed serious and/or permanent adverse effects.
     64.     As a result of said injuries, Plaintiff suffered significant bodily and
mental injuries, pain and suffering, mental anguish, disfigurement, embarrassment,
inconvenience, loss of earnings and earning capacity, and have and will incur past
and future medical expenses.
     65.     At all relevant times, each Defendant had knowledge that there was a
significant increased risk of adverse events associated with ParaGard IUD including
arm breakage, and despite this knowledge Defendants continued to manufacture,
market, distribute, sell, and profit from sales of ParaGard IUD.
     66.     The Cooper Defendants continue to manufacture, market, distribute,
sell and profit from sales of ParaGard IUD.
     67.     Despite such knowledge, Defendants knowingly, purposely, and
deliberately failed to adequately warn Plaintiff, patients, consumers, medical
providers, and the public of the increased risk of serious injury associated with using
ParaGard IUD.
     68.     On information and belief, Plaintiff’s prescribing physicians would not
have prescribed ParaGard IUD to Plaintiff, would have changed the way they warned
Plaintiff about the signs and symptoms of serious adverse effects of ParaGard IUD,



                                          11
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 12 of 55




and discussed with Plaintiff the true risks of arm breakage and resulting injuries and
complications had Defendants provided said physicians with an appropriate and
adequate warning regarding the risks associated with the use of ParaGard IUD.
      69.    As a direct and proximate result of Defendants’ conduct, Plaintiff
suffered injuries, including, but not limited to, pain, suffering, and loss of
reproductive health, which resulted in damages to Plaintiff in a sum in excess of the
jurisdictional limits of the Court.
      70.    The Defendants maintained a duty to Plaintiff after the ParaGard IUD
was implanted and until it was removed.
      71.    The Cooper Defendants are also liable as successors-in-interest under
Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any other
state or federal successor in interest acts or statutes; and the Federal Consumer
Protection Act pursuant to a fraudulent conveyance or transfer of assets.
      72.    As a direct result of Plaintiff’s use of ParaGard IUD, Plaintiff suffered
from having a broken arm of the ParaGard IUD in her, causing her damage,
including but not limited to pain, suffering, mental anguish, the loss of reproductive
health, loss of enjoyment of life, medical expenses and other out of pocket losses
and loss of income.
VII. DELAYED DISCOVERY
      73.    Plaintiff incorporates by reference the factual portion of this Complaint
as if fully set forth herein and additionally, or in the alternative, if same be necessary,
allege as follows:
      74.    Plaintiff plead that the discovery rule should be applied to toll the
running of the statute of limitations until Plaintiff knew, or through the exercise of
reasonable care and diligence should have known, of facts indicating that the




                                            12
        Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 13 of 55




Plaintiff had been injured, the cause of the injury and the tortuous nature of the
wrongdoing that caused the injury.
      75.    Despite diligent investigation by Plaintiff into the cause of her injuries,
including consultations with Plaintiff’s medical providers, the nature of Plaintiff’s
injuries and damages and their relation to the Plaintiff’s ParaGard IUD and
Defendants’ wrongful conduct was not discovered and could not have been
discovered, until a date within the applicable statute of limitations for filing each of
Plaintiff’s claims. Therefore, under appropriate application of the discovery rule,
Plaintiff’s suit was filed well within the applicable statutory limitations period.
      76.    Any applicable statutes of limitations have been tolled by the knowing
and active concealment and denial of material facts known by the Defendants when
they had a duty to disclose those facts. The Defendants’ purposeful and fraudulent
acts of concealment have kept Plaintiff ignorant of vital information essential to the
pursuit of Plaintiff’s claims, without any fault or lack of diligence on Plaintiff’s part,
for the purpose of obtaining delay on Plaintiff’s filing of their causes of action. The
Defendants’ fraudulent concealment did result in such delay.
      77.    Defendants are estopped from relying on the statute of limitations
defense because Defendants failed to timely disclose, among other things, facts
evidencing the defective and unreasonably dangerous nature of their ParaGard IUD.
VIII. CAUSES OF ACTION
                   COUNT I – NEGLIGENCE

      78.    Plaintiff realleges and incorporates by reference every allegation of this

Complaint as if each were set forth fully and completely herein.




                                           13
        Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 14 of 55




      79.     At times relevant, Defendants were in the business of designing,

developing, setting specifications, manufacturing, marketing, selling and/or

distributing ParaGard IUD, including the one that was implanted into the Plaintiff.

      80.     Defendants had a duty to exercise reasonable and ordinary care in the

manufacture, design, labeling, instructions, warnings, sale, marketing, safety

surveillance and distribution of ParaGard IUD so as to avoid exposing others to

foreseeable and unreasonable risks of harm.

      81.     Defendants breached their duty of care to the Plaintiff and her

physicians, in the manufacture, design, labeling, warnings, instructions, sale,

marketing, safety surveillance, and distribution of ParaGard IUD.

      82.     Defendants knew that ParaGard IUD could break upon removal and

failed to warn Plaintiff of this potential injury.

      83.     Defendants had a duty to warn Plaintiff, Plaintiff’s physician, and/or

the medical community of the potential for breakage at the arm(s) upon removal.

      84.     The Cooper Defendants had a continuing duty to warn Plaintiff,

Plaintiff’s physician, and/or the medical community of the potential for breakage at

the arm(s) upon removal upon it’s acquisition of ParaGard IUD in September of 2017.




                                            14
        Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 15 of 55




      85.     Defendants knew or reasonably should have known that ParaGard IUD

was dangerous or likely to be dangerous when used in its intended or reasonably

foreseeable manner.

      86.     At the time of the manufacture and sale of ParaGard IUD, Teva

Defendants knew or should have known that ParaGard IUD was designed and

manufactured in such a manner so as to present an unreasonable risk of the fracture

of the arm of the drug upon removal.

      87.     At the time of the manufacturer and sale of ParaGard IUD, Teva

Defendants knew or should have known that ParaGard IUD was designed and

manufactured to have unreasonable and insufficient strength or structural integrity to

withstand normal placement and subsequent removal.

      88.     At the time of the manufacture and sale of ParaGard IUD, Teva

Defendants knew or should have known that using ParaGard IUD for its intended use

or in a reasonably foreseeable manner created a significant risk of a patient suffering

severe injuries, including but not limited to additional surgeries and/or medical

procedures in order to remove the fragmented drug, even leading to hysterectomy.

      89.     Upon acquisition of ParaGard IUD from Teva Defendants, Cooper

Defendants are charged with the same knowledge that Teva Defendants knew or

should have known regarding the risks associated with ParaGard IUD at the time of



                                          15
         Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 16 of 55




manufacture and sale, and therefore, all Defendants had a continuing duty to warn

Plaintiff and her physicians or the general health care community of those reasonably

known risks.

        90.    Defendants knew or reasonably should have known that the consumers

of ParaGard IUD would not realize the danger associated with using the drug for its

intended use and/or in a reasonably foreseeable manner.

        91.    Defendants breached their duty to exercise reasonable and prudent care

in the development, testing, design, manufacture, inspection, marketing, labeling,

promotion, distribution and sale of ParaGard IUD in, among others, the following

ways:

                        a. Designing and distributing a product in which they knew

                  or should have known that the likelihood and severity of potential

                  harm from the product exceeded the burden of taking measures to

                  reduce or avoid harm;

                        b. Designing and distributing a product in which they knew

                  or should have known that the likelihood and severity of potential

                  harm from the product exceeded the likelihood of potential harm

                  from other drug available for the same purpose;




                                          16
Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 17 of 55




              c. Failing to use reasonable care in manufacturing the

       product and producing a product that differed from their design or

       specifications;

              d. Failing to use reasonable care to warn or instruct Plaintiff,

       Plaintiff’s healthcare providers or the general health care

       community about ParaGard IUD’s substantially dangerous

       condition or about facts making the product likely to be dangerous,

       including pre-and post-sale;

              e. Failing to perform reasonable pre-and post-market testing

       of ParaGard IUD to determine whether or not the product was safe

       for its intended use;

              f. Failing to provide adequate instructions, guidelines, and

       safety precautions, to those persons to whom it was reasonably

       foreseeable would recommend, use, implant and remove ParaGard

       IUD;

              g. Advertising, marketing and recommending the use of

       ParaGard IUD, while concealing and failing to disclose or warn of

       the dangers known by the Defendants to be connected with and

       inherent in the use of ParaGard IUD;



                                 17
Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 18 of 55




             h. Representing that ParaGard IUD was safe for its intended

       use when in fact, Defendants knew and should have known the

       product was not safe for its intended purpose;

             i. Continuing manufacture and sale of ParaGard IUD with

       the knowledge that the IUD was dangerous and not reasonably safe,

       and failing to comply with the FDA good manufacturing

       regulations;

             j. Failing to use reasonable and prudent care in the design,

       research, manufacture, and development of ParaGard IUD so as to

       avoid the risk of serious harm associated with the use of the IUD;

             k. Failing to establish an adequate quality assurance program

       used in the manufacturing of ParaGard IUD;

             l. Failing to establish and maintain an adequate post-

       marketing surveillance program for ParaGard IUD;

             m. Failing to adequately and correctly report safety

       information relative to ParaGard IUD product resulting in

       inadequate warnings; and




                               18
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 19 of 55




                        n. Failing to provide adequate and continuous warnings

                 about the inherent danger of breakage with ParaGard IUD upon

                 removal.

      92.    A reasonable manufacturer, distributor, and/or seller under the same or

similar circumstances would not have engaged in the aforementioned acts and

omissions.

      93.    As a proximate result of the Defendants’ design, manufacture,

marketing, sale and/or distribution of ParaGard IUD, Plaintiff has been injured

catastrophically, and sustained severe and permanent pain, suffering, disability, and

impairment, loss of enjoyment of life, loss of reproductive health, comfort, and

economic damages.

      94.    The Cooper Defendants are also liable as a successors-in-interest under

the Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any

other state or federal successor in interest acts or statutes; and the Federal Consumer

Protection Act pursuant to a fraudulent conveyance or transfer of assets.

      WHEREFORE, Plaintiff demands judgment against the Defendants, jointly

and severally, for compensatory damages, for punitive damages and for costs, in an

as yet unliquidated sum in excess of $75,000.00, and such other relief as this Court

deems just and for a trial by jury on all issues so triable as a matter of right.



                                           19
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 20 of 55




             COUNT II – STRICT LIABILITY DESIGN DEFECT

      95.    Plaintiff realleges and incorporates by reference every allegation of this

Complaint as if each were set forth fully and completely herein.

      96.    ParaGard IUD is inherently dangerous and defective, unfit and unsafe

for its intended use and reasonably foreseeable uses and does not meet or perform to

the expectations of patients and their health care providers.

      97.    ParaGard IUD was expected to, and did, reach its intended consumer

without substantial change in the condition in which it was in when it left

Defendants’ possession.

      98.    The ParaGard IUD implanted in Plaintiff was defective in design

because it failed to perform as safely as persons who ordinarily use the products

would have expected at time of use.

      99.    The ParaGard IUD implanted in Plaintiff was defective in design, in

that the IUD’s risks of harm exceeded its claimed benefits.

      100. Plaintiff and her healthcare providers used ParaGard IUD in a manner

that was reasonably foreseeable to the Defendants.

      101. Neither Plaintiff nor her healthcare providers could have by the exercise

of reasonable care discovered the IUD’s defective conditions or perceived its

unreasonable dangers prior to her implantation of the drug.



                                          20
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 21 of 55




       102.   As a result of the foregoing design defects, ParaGard IUD created risks

to the health and safety of its users that were far more significant and devastating

than the risks posed by other products and procedures available to treat the

corresponding medical conditions, and which far outweigh the utility of ParaGard

IUD.

       103. Defendants have intentionally and recklessly designed ParaGard IUD

with wanton and willful disregard for the rights and health of the Plaintiff and others,

and with malice, placing their economic interests above the health and safety of the

Plaintiff and others.

       104. As a proximate result of the Defendants’ design of ParaGard IUD,

Plaintiff has been injured catastrophically, and sustained severe and permanent pain,

suffering, disability, and impairment, loss of enjoyment of life, loss of care, comfort,

and economic damages.

       105. The Cooper Defendants are also liable as successors-in-interest under

the Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any

other state or federal successor in interest acts or statutes; and the Federal Consumer

Protection Act pursuant to a fraudulent conveyance or transfer of assets.

       WHEREFORE, Plaintiff demands judgment against the Defendants, jointly

and severally, for compensatory damages, for punitive damages and for costs, in an



                                          21
        Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 22 of 55




as yet unliquidated sum in excess of $75,000.00, and such other relief as this Court

deems just and for a trial by jury on all issues so triable as a matter of right.

      COUNT III – STRICT LIABILITY MANUFACTURING DEFECT

       106. Plaintiff realleges and incorporates by reference every allegation of this

Complaint as if each were set forth fully and completely herein.

       107. Defendants designed, set specifications, manufactured, prepared,

compounded,       assembled,       processed,     marketed,      labeled,     performed

pharmacovigilance, distributed and sold the ParaGard IUD that was implanted into

the Plaintiff.

       108. The ParaGard IUD implanted in Plaintiff contained a condition or

conditions, which Defendants did not intend, at the time the ParaGard IUD left

Defendants’ control and possession.

       109. Plaintiff and Plaintiffs’ health care providers used the drug in a manner

consistent with and reasonably foreseeable to Defendants.

       110. As a result of this condition or these conditions, the product failed to

perform as safely as the ordinary consumer would expect, causing injury, when used

in a reasonably foreseeable manner.

       111. ParaGard IUD was defectively and/or improperly manufactured,

rendering it defective and unreasonably dangerous and hazardous to Plaintiff.



                                           22
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 23 of 55




      112. As a result of the manufacturing defects, ParaGard IUD creates risks to

the health and safety of the patients that are far more significant and devastating than

the risks posed by other products and procedures available to treat the corresponding

medical conditions, and which far outweigh the utility of ParaGard IUD.

      113. Defendants have intentionally and recklessly manufactured ParaGard

IUD with wanton and willful disregard for the rights and health of the Plaintiffs and

others, and with malice, placing their economic interests above the health and safety

of the Plaintiff and others.

      114. As a proximate result of the Defendants’ manufacture of ParaGard IUD,

Plaintiff has been injured catastrophically, and sustained severe and permanent pain,

suffering, disability, and impairment, loss of enjoyment of life, loss of care, comfort,

and economic damages.

      115. The Cooper Defendants are also liable as successors-in-interest under

the Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any

other state or federal successor in interest acts or statutes; and the Federal Consumer

Protection Act pursuant to a fraudulent conveyance or transfer of assets.

      WHEREFORE, Plaintiff demands judgment against the Defendants, jointly

and severally, for compensatory damages, for punitive damages and for costs, in an




                                          23
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 24 of 55




as yet unliquidated sum in excess of $75,000.00, and such other relief as this Court

deems just and for a trial by jury on all issues so triable as a matter of right.

           COUNT IV – STRICT LIABILITY FAILURE TO WARN

      116. Plaintiff realleges and incorporates by reference every allegation of this

Complaint as if each were set forth fully and completely herein.

      117. Defendants designed, set specifications, manufactured, prepared,

compounded, assembled, processed, marketed, labeled, distributed and sold

ParaGard IUD, including the one implanted into Plaintiff, into the stream of

commerce and in the course of same, directly advertised and marketed the drug to

consumers or persons responsible for consumers.

      118. At the time Defendants designed set specifications, manufactured,

prepared, compounded, assembled, processed, marketed, labeled, distributed and

sold ParaGard IUD into the stream of commerce, Defendants knew or should have

known that the drug presented an unreasonable danger to users of the product when

put to its intended and reasonably anticipated use.

      119. Specifically, Defendants knew or should have known that ParaGard

IUD posed a significant risk that one of the arms of the drug could break upon

removal, resulting in significant injuries.




                                           24
        Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 25 of 55




        120. Defendants had a duty to warn of the risk of harm associated with the

use of the drug and to provide adequate warnings concerning the risk the drug could

break upon removal, even if implanted properly and even if the drug remained

properly in-place.

        121. The Cooper Defendants had a continuing duty to warn Plaintiff,

Plaintiff’s physician, and/or the medical community of the potential for breakage at

the arm(s) upon removal upon it’s acquisition of ParaGard IUD in September of

2017.

        122. Defendants failed to properly and adequately warn and instruct the

Plaintiff and her health care providers with regard to the inadequate research and

testing of ParaGard IUD, and the complete lack of a safe, effective procedure for

removal of ParaGard IUD.

        123. The risks associated with ParaGard IUD are of such a nature that health

care providers and users could not have recognized the potential harm.

        124. ParaGard IUD was defective and unreasonably dangerous at the time

of its release into the stream of commerce due to the inadequate warnings, labeling

and/or instructions accompanying the product, including but not limited to, the

implantation and subsequent removal of ParaGard IUD.




                                         25
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 26 of 55




      125. The ParaGard IUD, when implanted in Plaintiff, was in the same

condition as when it was manufactured, inspected, marketed, labeled, promoted,

distributed and sold by the Defendants.

      126. The       Defendants      intentionally,   recklessly,    and     maliciously

misrepresented the safety, risks, and benefits in order to advance their own financial

interests, with wanton and willful disregard for the rights and health of the Plaintiff.

      127. As a proximate result of the Defendants’ design, manufacture,

marketing, sale and/or distribution of ParaGard IUD, Plaintiff has been injured

catastrophically, and sustained severe and permanent pain, suffering, disability, and

impairment, loss of enjoyment of life, loss of reproductive health, comfort, and

economic damages.

      128. The Cooper Defendants are also liable as successors-in-interest under

the Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any

other state or federal successor in interest acts or statutes; and the Federal Consumer

Protection Act pursuant to a fraudulent conveyance or transfer of assets.

      WHEREFORE, Plaintiff demands judgment against the Defendants, jointly

and severally, for compensatory damages, for punitive damages and for costs, in an

as yet unliquidated sum in excess of $75,000.00, and such other relief as this Court

deems just and for a trial by jury on all issues so triable as a matter of right.



                                           26
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 27 of 55




                     COUNT V – COMMON LAW FRAUD

      129. Plaintiff realleges and incorporates by reference every allegation of this

Complaint as if each were set forth fully and completely herein.

      130. The Defendants have falsely and fraudulently represented and continue

to represent to the medical and healthcare community, Plaintiff and her physicians,

and/or the public that ParaGard IUD had been appropriately tested and was found to

be safe and effective.

      131. The representations made by the Defendants were, in fact, false. When

the Defendants made their representations, they knew and/or had reason to know

that those representations were false, and they willfully, wantonly, and recklessly

disregarded the inaccuracies in their representations and the dangers and health risks

to users of ParaGard IUD.

      132. These representations were made by the Defendants with the intent of

defrauding and deceiving the medical community, Plaintiff, and the public, and also

inducing the medical community, Plaintiff, Plaintiff’s physicians, and/or the public,

to recommend, prescribe, dispense, and purchase ParaGard IUD for use as a form of

long-term birth control, all of which evidenced a callous, reckless, willful, and

depraved indifference to the health, safety, and welfare of Plaintiff.




                                          27
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 28 of 55




      133. In representations to Plaintiff and/or to her healthcare providers, the

Defendants fraudulently concealed and intentionally omitted the following material

information:

               a. That ParaGard IUD was not as safe as other products and procedures

                  available to aid in the long-term prevention of pregnancy;

               b. That the risk of adverse events with ParaGard IUD was higher than

                  with other products and procedures available for birth control;

               c. ParaGard IUD was not adequately tested;

               d. That the limited clinical testing for ParaGard IUD revealed a higher

                  risk of adverse events, above and beyond those associated with other

                  products and procedures available for birth control;

               e. That Defendants deliberately failed to follow up on the adverse

                  results from clinical studies and/or formal and informal reports from

                  physicians and/or other healthcare providers and either ignored,

                  concealed and/or misrepresented those findings;

               f. That Defendants were aware of dangers in ParaGard IUD in addition

                  to and above and beyond those associated with other products and

                  procedures available for birth control;




                                           28
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 29 of 55




            g. That ParaGard IUD was defective, and that it caused dangerous and

                adverse side effects, including but not limited to unacceptable

                incidence of breakage upon removal;

            h. That when ParaGard IUD needed to be removed, the removal

                procedure had a very high failure rate and/or needed to be performed

                repeatedly;

            i. That ParaGard IUD was manufactured negligently;

            j. That ParaGard IUD was manufactured defectively; and

            k. That ParaGard IUD was designed negligently and designed

                defectively.

      134. The Defendants were under a duty to disclose to Plaintiff and her

physicians, the defective nature of ParaGard IUD, including but not limited to, the

risk of breakage prior to and upon removal, which could result in permanent injury.

      135. The Defendants had sole access to material facts concerning the

defective nature of the products and their propensity to cause serious and dangerous

side effects and hence, cause dangerous injuries and damage to persons who used

ParaGard IUD, such as Plaintiff.

      136. The Defendants’ concealment and omissions of material facts

concerning the safety of ParaGard IUD were made purposefully, willfully, wantonly,



                                        29
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 30 of 55




and/or recklessly to mislead Plaintiff, Plaintiff’s physicians, surgeons and healthcare

providers and to induce them to purchase, prescribe, and/or dispense ParaGard IUD;

and/or to mislead them into reliance upon and cause them to use ParaGard IUD.

      137. At the time these representations were made by Defendants, and at the

time Plaintiff and/or her physicians, used ParaGard IUD, Plaintiff and/or her

physicians were unaware of the falsehood of these representations, and reasonably

believed them to be true.

      138. The Defendants knew and had reason to know that ParaGard IUD could

and would cause severe and grievous personal injury to the users of the product and

was inherently dangerous in a manner that exceeded any purported, inaccurate, or

otherwise downplayed warnings.

      139. In reliance upon these false representations, Plaintiff and her physicians

were induced to, and did use ParaGard IUD, thereby causing severe and permanent

personal injuries and damages to Plaintiff. The Defendants knew or had reason to

know that the Plaintiff and her physicians and other healthcare providers had no way

to determine the truth behind the Defendants’ concealment and omissions, and that

these included material omissions of facts surrounding the use of ParaGard IUD, as

described in detail herein.




                                          30
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 31 of 55




      140. Plaintiff and her physicians reasonably relied on facts provided by the

Defendants which foreseeably and purposefully suppressed and concealed facts that

were critical to understanding the real dangers inherent to the use of ParaGard IUD.

      141. Having knowledge based on the Defendants research and testing, or

lack thereof, Defendants blatantly and intentionally distributed false information,

including but not limited to assurances to Plaintiff, the public, and Plaintiff’s

healthcare providers and physicians, that ParaGard IUD was safe for use as a means

of providing long-term birth control and was as safe or safer than other product

and/or procedures available and/or on the market. As a result of Defendants’

research and testing, or lack thereof, these Defendants intentionally omitted,

concealed and suppressed the dissemination of certain results of testing and research

to healthcare professionals, Plaintiff, her physicians, and the public at large.

      142. The Defendants had a duty when disseminating information to the

public to disseminate truthful information; and a parallel duty not to deceive the

public, Plaintiff, and/or her physicians.

      143. The information distributed to the public, the medical community,

Plaintiff and her physicians by the Defendants included, but was not limited to

websites, information presented at medical and professional meetings, information

disseminated by sales representatives to physicians and other medical care providers,



                                            31
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 32 of 55




professional literature, reports, press releases, advertising campaigns, television

commercials, print advertisements, and/or other commercial media, and contained

material representations which were false and misleading, as well as omissions and

concealments of the truth about the dangers of the use of ParaGard IUD.

       144. These representations, and others made by the Defendants, were false

when made and/or were made with the pretense of actual knowledge when such

knowledge did not actually exist, and were made recklessly and without regard to

the true facts.

       145. The Defendants recklessly and/or intentionally falsely represented the

dangerous and serious health and safety concerns inherent in the use of ParaGard

IUD to Plaintiff, her physicians and the public at large, for the purpose of influencing

the sales of products known to be dangerous and defective, and/or not as safe as

other alternatives.

       146. At the time the representations were made, Plaintiff and her healthcare

providers did not know the truth about the dangers and serious health and/or safety

risks inherent in the use of ParaGard IUD.

       147. Plaintiff did not discover the true facts about the dangers and serious

health and/or safety risks, nor did Plaintiff discover the false representations of the

Defendants, nor would Plaintiff with reasonable diligence have discovered the true



                                          32
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 33 of 55




facts about the Defendant’s misrepresentations at the time when the ParaGard IUD

was surgically implanted into her.

      148. Had Plaintiff known the true facts about the dangers and serious health

and/or safety risks of ParaGard IUD, neither Plaintiff nor her physician would not

have purchased, used, or relied on Defendants’ representations and omissions

concerning ParaGard IUD.

      149. As a proximate result of the Defendants’ design, manufacture,

marketing, sale and/or distribution of ParaGard IUD, Plaintiff has been seriously

injured, and sustained severe and permanent injury, pain, suffering, disability, and

impairment, loss of enjoyment of life, loss of reproductive health, comfort, and

economic damages.

      150. The Cooper Defendants are also liable as successors-in-interest under

the Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any

other state or federal successor in interest acts or statutes; and the Federal Consumer

Protection Act pursuant to a fraudulent conveyance or transfer of assets.

      WHEREFORE, Plaintiff demands judgment against the Defendants, jointly

and severally, for compensatory damages, for punitive damages and for costs, in an

as yet unliquidated sum in excess of $75,000.00, and such other relief as this Court

deems just and for a trial by jury on all issues as triable as a matter of right.



                                           33
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 34 of 55




             COUNT VI – NEGLIGENT MISREPRESENTATION

      151. Plaintiff realleges and incorporates by reference every allegation of this

Complaint as if each were set forth fully and completely herein.

      152. At relevant times, Defendants negligently provided Plaintiff, her

healthcare providers, and the general medical community with false or incorrect

information or omitted or failed to disclose material information concerning

ParaGard IUD, including, but not limited to, misrepresentations regarding the safety

of ParaGard IUD.

      153. The information distributed by the Defendants to the public, the

medical community, the Plaintiff and her healthcare providers, including advertising

campaigns, labeling materials, print advertisements, commercial media, was false

and misleading and contained omissions and concealment of truth about the dangers

of ParaGard IUD.

      154. Defendants’ intent and purpose in making these misrepresentations was

to deceive and defraud the public and the medical community, including Plaintiff

and Plaintiffs’ health care providers; to falsely assure them of the quality of ParaGard

IUD and the induce the public and medical community, including Plaintiff and her

healthcare provider to request, recommend, prescribe, implant, purchase and

continue to use ParaGard IUD.



                                          34
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 35 of 55




      155. The Defendants had a duty to accurately and truthfully represent to the

medical and healthcare community, medical drug manufacturers, Plaintiff, her

healthcare providers and the public, that ParaGard IUD had been tested and found

to be safe and effective for long term birth control.

      156. The representations made by the Defendants were, in fact, false.

ParaGard IUD was not safe for human use in its intended and reasonably foreseeable

manner. Use of ParaGard IUD is dangerous as there is a risk that it may fracture

upon removal cause significant injury.

      157. In reliance upon the false and negligent misrepresentations and

omissions made by the Defendants, Plaintiff and Plaintiff’s healthcare providers

were induced to, and did use ParaGard IUD, thereby causing Plaintiff to endure

severe and permanent injuries.

      158. Defendants knew and had reason to know that the Plaintiff, Plaintiff’s

healthcare providers, and the general medical community did not have the ability to

determine the true facts which were intentionally and/or negligently concealed and

misrepresented by the Defendants.

      159. Plaintiff and her healthcare providers would not have recommended,

and implanted ParaGard IUD had the true facts not been concealed by the

Defendants.



                                          35
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 36 of 55




       160. Defendants had sole access to the material facts concerning the

defective nature of ParaGard IUD and its propensity to cause serious and dangerous

side injuries.

       161. At the time Defendants failed to disclose and misrepresented the

foregoing facts, and at the time Plaintiff was implanted with ParaGard IUD, Plaintiff

and   her     healthcare   providers   were unaware of      Defendants’ negligent

misrepresentations and omissions.

       162. The Defendants failed to exercise ordinary care in making

representations concerning ParaGard IUD while they were involved in their

manufacture, sale, testing, quality assurance, quality control, and distribution in

interstate commerce, because the Defendants negligently misrepresented ParaGard

IUD’s high risk of unreasonable and dangerous adverse side effects.

       163. The Defendants breached their duty to Plaintiff, her physicians, and the

medical and healthcare community, by representing that ParaGard IUD has no

serious side effects different from older generations of similar products or

procedures.

       164. Plaintiff and Plaintiff’s healthcare providers reasonably relied upon the

misrepresentations and omissions made by the Defendants, where they concealed




                                          36
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 37 of 55




and misrepresented facts that were critical to understanding the true dangers inherent

in the use of ParaGard IUD.

       165. Plaintiff and Plaintiff’s healthcare providers’ reliance on the foregoing

misrepresentations and omissions was the direct and proximate cause of Plaintiffs

injuries.

       166. The Defendants knew, and had reason to know, that ParaGard IUD had

been insufficiently tested, or had not been tested at all, that the products lacked

adequate and accurate warnings, that they created a high risk, and/or higher than

acceptable risk, and/or higher than reported risk that they represented a risk of

adverse side effects, including, pain and suffering, surgery to remove the product,

and other severe and personal injuries, which are permanent and lasting in nature.

       167. As a proximate result of the Defendants’ design, manufacture,

marketing, sale and/or distribution of ParaGard IUD, Plaintiff has been injured

catastrophically, and sustained severe and permanent pain, suffering, disability, and

impairment, loss of enjoyment of life, loss of reproductive health, comfort, and

economic damages.

       168. The Cooper Defendants are also liable as successors-in-interest under

the Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any




                                         37
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 38 of 55




other state or federal successor in interest acts or statutes; and the Federal Consumer

Protection Act pursuant to a fraudulent conveyance or transfer of assets.

      WHEREFORE, Plaintiff demands judgment against the Defendants, jointly

and severally, for compensatory damages, for punitive damages and for costs, in an

as yet unliquidated sum in excess of $75,000.00, and such other relief as this Court

deems just and for a trial by jury on all issues as triable as a matter of right.

             COUNT VII – BREACH OF EXPRESS WARRANTY

      169. Plaintiff realleges and incorporates by reference every allegation of this

Complaint as if each were set forth fully and completely herein.

      170. At relevant times, Defendants intended that ParaGard IUD be used in

the manner that Plaintiff used it and Defendants expressly warranted that each

product was safe and fit for use by consumers, that it was of merchantable quality,

that its side effects were minimal and comparable to other treatments for long-term

birth control, and that they were adequately tested and fit for their intended use.

      171. At relevant times, Defendants were aware that consumers, including

Plaintiff, would use ParaGard IUD; which is to say that Plaintiff was a foreseeable

user of ParaGard IUD.

      172. Plaintiff and/or her implanting physicians were, at all relevant times, in

privity with the Defendants.



                                           38
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 39 of 55




      173. ParaGard IUD was expected to reach and did in fact reach its ultimate

consumer, including Plaintiff and her implanting physicians, without substantial

change in the condition in which it was manufactured and sold by the Defendants.

      174. The Defendants breached various express warranties with respect to

ParaGard IUD including the following particulars:

            l. The Defendants represented to Plaintiff and her physicians and

               healthcare providers through their labeling, advertising, marketing

               materials, detail persons, seminar presentations, publications, notice

               letters, and regulatory submissions that ParaGard IUD was safe, and

               fraudulently withheld and concealed information about the

               substantial risks of serious injury associated with using ParaGard

               IUD;

            m. The Defendants represented to Plaintiff and her physicians and

               healthcare providers that ParaGard IUD was as safe, and/or safer

               than other alternative procedures and drugs and fraudulently

               concealed information, which demonstrated that ParaGard IUD was

               not safer than alternatives available on the market; and

            n. The Defendants represented to Plaintiff and her physicians and

               healthcare providers that ParaGard IUD was more efficacious than



                                        39
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 40 of 55




                  other alternatives and fraudulently concealed information regarding

                  the true efficacy of the products.

      175. In reliance upon the Defendants’ express warranties, Plaintiff was

implanted with ParaGard IUD as prescribed and directed, and therefore, in the

foreseeable manner normally intended, recommended, promoted, and marketed by

the Defendants.

      176. At the time of making such express warranties, the Defendants knew or

should have known that ParaGard IUD does not conform to these express

representations because ParaGard IUD was not safe and had numerous side effects,

many of which the Defendants did not accurately warn about, thus making ParaGard

IUD unreasonably unsafe for its intended purpose.

      177. Members of the medical community, including physicians and other

healthcare professionals, as well as Plaintiff and her physicians, relied upon the

representations and warranties of the Defendants in connection with use,

recommendation, description, and/or dispensing of ParaGard IUD.

      178. The Defendants breached their express warranties to Plaintiff in that

ParaGard IUD was not of merchantable quality, safe and/or fit for its intended uses,

nor was it adequately tested.




                                           40
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 41 of 55




      179. As a proximate result of the Defendants’ design, manufacture,

marketing, sale and/or distribution of ParaGard IUD, Plaintiff has been injured

catastrophically, and sustained severe and permanent pain, suffering, disability, and

impairment, loss of enjoyment of life, loss of reproductive health, comfort, and

economic damages.

      180. The Cooper Defendants are also liable as successors-in-interest under

the Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any

other state or federal successor in interest acts or statutes; and the Federal Consumer

Protection Act pursuant to a fraudulent conveyance or transfer of assets.

      WHEREFORE, Plaintiff demands judgment against the Defendants, jointly

and severally, for compensatory damages, for punitive damages and for costs, in an

as yet unliquidated sum in excess of $75,000.00, and such other relief as this Court

deems just and for a trial by jury on all issues as triable as a matter of right.

             COUNT VIII – BREACH OF IMPLIED WARRANTY

      181. Plaintiff realleges and incorporates by reference every allegation of this

Complaint as if each were set forth fully and completely herein.

      182. At relevant and material times, Defendants manufactured, distributed,

advertised, promoted, and sold ParaGard IUD.




                                           41
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 42 of 55




      183. At relevant times, Defendants intended that ParaGard IUD be

implanted for the purposes, and in the manner, that Plaintiff or her physicians or

surgeons used it and the Defendants impliedly warranted each ParaGard IUD to be

of merchantable quality, safe and fit for such use, and to have been adequately tested.

      184. Defendants were aware that consumers, including Plaintiff or her

physicians or surgeons would implant ParaGard IUD in the manner described by the

instructions for use and that Plaintiff was the foreseeable user of ParaGard IUD.

      185. Plaintiff and/or her physicians and surgeons were at all relevant times

in privity with Defendants.

      186. The Defendants’ ParaGard IUD was expected to reach and did in fact

reach consumers, including Plaintiff and/or her physicians and surgeons, without

substantial change in the condition in which they manufactured and sold by

Defendants.

      187. Defendants breached various implied warranties with respect to

ParaGard IUD, including the following particulars:

              a. Defendants represented through their labeling, advertising,

                marketing materials, detail persons, seminar presentations,

                publications, notice letters, medical literature, and regulatory

                submissions that ParaGard IUD was safe and fraudulently withheld



                                          42
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 43 of 55




                  and concealed information about the substantial risks of serious

                  injury associated with using ParaGard IUD;

              b. Defendants represented that ParaGard IUD was safe, and/or safer

                  than other alternative drugs or procedures and fraudulently

                  concealed information, which demonstrated that ParaGard IUD was

                  not as safe or safer than alternatives available on the market; and

              c. Defendants represented that ParaGard IUD was more efficacious

                  than other alternative treatments and fraudulently concealed

                  information, regarding the true efficacy of ParaGard IUD.

      188. In reliance upon Defendants’ implied warranties, Plaintiff and/or her

implanting physicians and surgeons used ParaGard IUD as prescribed in the

foreseeable manner normally intended, recommended, promoted, and marketed by

Defendants.

      189. Defendants breached their implied warranties to Plaintiff and/or her

implanting physicians and surgeons in that ParaGard IUD was not of merchantable

quality, safe and fit for its intended use, or adequately tested, in violation of common

law principles.

      190. As a proximate result of the Defendants’ design, manufacture,

marketing, sale and/or distribution of ParaGard IUD, Plaintiff has been injured



                                           43
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 44 of 55




catastrophically, and sustained severe and permanent pain, suffering, disability, and

impairment, loss of enjoyment of life, loss of reproductive health, comfort, and

economic damages.

      191. The Cooper Defendants are also liable as successors-in-interest under

the Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any

other state or federal successor in interest acts or statutes; and the Federal Consumer

Protection Act pursuant to a fraudulent conveyance or transfer of assets.

      WHEREFORE, Plaintiff demands judgment against the Defendants, jointly

and severally, for compensatory damages, for punitive damages and for costs, in an

as yet unliquidated sum in excess of $75,000.00, and such other relief as this Court

deems just and for a trial by jury on all issues as triable as a matter of right.

    COUNT IX – VIOLATION OF CONSUMER PROTECTION LAWS

      192. Plaintiff realleges and incorporates by reference every allegation of this

Complaint as if each were set forth fully and completely herein.

      193. Plaintiff purchased and used ParaGard IUD primarily for personal use

thereby suffering ascertainable losses, as a result of the Defendants’ actions in

violation of the consumer protection laws.




                                           44
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 45 of 55




      194. Had the Defendants not engaged in the deceptive conduct described

herein, Plaintiff and her physicians would not have purchased and/or paid for

ParaGard IUD and would not have incurred related medical costs and injury.

      195. The Defendants engaged in wrongful conduct while at the same time

obtaining, under false pretenses, moneys from Plaintiff for ParaGard IUD, that was

implanted into her, and that would not have been paid for had the Defendants not

engaged in unfair and deceptive conduct.

      196. Unfair methods of competition of deceptive acts or practices that were

proscribed by law, including the following:

            a. Representing that goods or services have characteristics,

               ingredients, uses benefits or quantities that they do not have;

            b. Advertising goods or services with the intent not to sell them as

               advertised; and

            c. Engaging in fraudulent or deceptive conduct that creates a

               likelihood of confusion and/or misunderstanding.

      197. Plaintiff was injured by the cumulative and indivisible nature of the

Defendants’ conduct. The cumulative effect of the Defendants’ conduct directed at

patients, physicians and consumers, including the Plaintiff and her physicians, was




                                        45
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 46 of 55




to create demand for and promote the sale of ParaGard IUD. Each aspect of the

Defendants’ conduct combined to artificially create sales of ParaGard IUD.

      198. The Defendants have a statutory duty to refrain from unfair or deceptive

acts or trade practices in the design, labeling, development, manufacture, promotion,

and sale of ParaGard IUD.

      199. Had the Defendants not engaged in the deceptive conduct described

above, Plaintiff would not have purchased and/or paid for ParaGard IUD and would

not have incurred related medical costs.

      200. The      Defendants’     deceptive,    unconscionable,     or    fraudulent

representations and material omissions to patients, physicians and consumers,

including Plaintiff and her physicians, constituted unfair and deceptive acts and trade

practices in violation of the state and Federal consumer protection statutes.

      201. The Defendants’ actions, as complained of herein, constitute unfair

competition or unfair, unconscionable, deceptive or fraudulent acts, or trade

practices in violation of state and Federal consumer protection statutes, including

but not limited to the O.C.G.A. §§ 10-1-393 et seq.

      202. The Defendants have engaged in unfair competition or unfair or

deceptive acts or trade practices or have made false representations in violation

under the statute listed above to protect consumers against unfair, deceptive,



                                           46
        Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 47 of 55




fraudulent and unconscionable trade and business practices and false advertising, the

Defendants are the suppliers, manufacturers, advertisers, and sellers, who are

subject to liability under such legislation for unfair, deceptive, fraudulent and

unconscionable consumer sales practices.

       203. The Defendants engaged in fraudulent behavior regarding the transfer

and/or sale of assets to Cooper Defendants in 2017. Cooper Defendants knew or

should have reasonably known that the transfer of assets was done in a manner

consistent with and in an effort to, deceive potential creditors.

       204. Pursuant to the terms of the asset purchase agreement, Teva Women’s

Health, Inc., claims to maintain liability for all ParaGard IUD placed prior to the

execution of the asset purchase agreement in September of 2017. However, Teva

Women’s Health, Inc., converted to Teva Women’s Health, LLC and sold off all of

its assets.

       205. Cooper Defendants knew or reasonably should have known that Teva

Defendants converted Teva Women’s Health, Inc., into Teva Women’s Health, LLC

after selling off or moving all assets from Teva Women’s Health, Inc.

       206. Therefore, Cooper Defendants knew or reasonably should have known

that Teva Defendants shuffling of assets and subsequent conversions were done to




                                          47
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 48 of 55




thwart potential creditors in violation of O.C.G.A. §§ 10-1-393 et seq. and Federal

consumer protection laws.

      207. The Defendants violated the statutes that were enacted to protect

consumers against unfair, deceptive, fraudulent and unconscionable trade and

business practices and false advertising, by knowingly and falsely representing that

ParaGard IUD was fit to be used for the purpose for which it was intended, when in

fact it was defective and dangerous, and by other acts alleged herein. These

representations were made in uniform promotional materials and product labeling.

      208. The actions and omissions of the Defendants alleged herein are uncured

or incurable deceptive acts under the statutes enacted in the states to protect

consumers against unfair, deceptive, fraudulent and unconscionable trade and

business practices and false advertising.

      209. The Defendants had actual knowledge of the defective and dangerous

condition of ParaGard IUD and failed to take any action to cure such defective and

dangerous conditions.

      210. Plaintiff and her implanting physicians and surgeons relied upon the

Defendants’ misrepresentations and omissions in determining which product and/or

procedure to undergo and/or perform.




                                            48
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 49 of 55




      211. The       Defendants’      deceptive,    unconscionable       or   fraudulent

representations and material omissions to patients, physicians and consumers,

constitute unfair and deceptive acts and practices.

      212. By reason of the unlawful acts engaged by the Defendants, and as a

direct and proximate result thereof, Plaintiff has suffered ascertainable losses and

damages.

      213. As a proximate result of the Defendants’ design, manufacture,

marketing, sale and/or distribution of ParaGard IUD, Plaintiff has been injured

catastrophically, and sustained severe and permanent pain, suffering, disability, and

impairment, loss of enjoyment of life, loss of reproductive health, comfort, and

economic damages.

      214. The Cooper Defendants are also liable as successors-in-interest under

the Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any

other state or federal successor in interest acts or statutes; and the Federal Consumer

Protection Act pursuant to a fraudulent conveyance or transfer of assets.

      WHEREFORE, Plaintiff demands judgment against the Defendants, jointly

and severally, for compensatory damages, for punitive damages and for costs, in an

as yet unliquidated sum in excess of $75,000.00, and such other relief as this Court

deems just and for a trial by jury on all issues as triable as a matter of right.



                                           49
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 50 of 55




                       COUNT X – GROSS NEGLIGENCE

      215. Plaintiff realleges and incorporates by reference every allegation of this

Complaint as if each were set forth fully and completely herein.

      216. The wrongs done by the Defendants were aggravated by the kind of

malice, fraud, and grossly negligent disregard for the rights of others, the public, and

Plaintiff , for which the law would allow, and which Plaintiff will seek at the

appropriate time under governing law for the imposition of exemplary damages, in

that Defendants’ conduct was specifically intended to cause substantial injury to

Plaintiff; or when viewed objectively from Defendants’ standpoint at the time of the

conduct, involved an extreme degree of risk, considering the probability and

magnitude of the potential harm to others, and Defendants were actually,

subjectively aware of the risk involved, but nevertheless proceeded with conscious

indifference to the rights, safety, or welfare of others; or included material

representations that were false, with Defendants, knowing that they were false or

with reckless disregard as to the truth and as a positive assertion, with the intent that

the representation is acted on by Plaintiff.

      217. Plaintiff and her physicians relied on the representations of Defendants

and suffered injury as a proximate result of this reliance.




                                           50
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 51 of 55




      218. Plaintiff therefore will seek to assert claims for exemplary damages at

the appropriate time under governing law in an amount within the jurisdictional

limits of the Court.

      219. Plaintiff also alleges that the acts and omissions of Defendants, whether

taken singularly or in combination with others, constitute gross negligence that

proximately caused that injuries to Plaintiff. In that regard, Plaintiff will seek

exemplary damages in an amount that would punish Defendants for their conduct

and which would deter other manufacturers from engaging in such misconduct in

the future.

      220. The Cooper Defendants are also liable as successors-in-interest under

the Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any

other state or federal successor in interest acts or statutes; and the Federal Consumer

Protection Act pursuant to a fraudulent conveyance or transfer of assets.

      WHEREFORE, Plaintiff demands judgment against the Defendants, jointly

and severally, for compensatory damages, for punitive damages and for costs, in an

as yet unliquidated sum in excess of $75,000.00, and such other relief as this Court

deems just and for a trial by jury on all issues as triable as a matter of right.




                                           51
         Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 52 of 55




                      COUNT XI – PUNITIVE DAMAGES

         221. Plaintiff incorporates by reference each and every allegation

contained in the preceding paragraphs as though fully set forth herein.

         222. At times material hereto, Defendants knew or should have known

that their ParaGard IUD, as designed, manufactured, assembled, sold and/or

distributed was inherently dangerous.

         223. At times material hereto, Defendants attempted to misrepresent and

did misrepresent facts concerning the safety of their ParaGard IUD.

         224. Defendants’ misrepresentations included knowingly withholding

material information from the public and consumers alike, including Plaintiff,

concerning the safety of ParaGard IUD.

         225. At times material hereto, Defendants knew and recklessly

disregarded the fact that their ParaGard IUD could cause serious, disabling, and

permanent injuries to individuals such as Plaintiff.

         226. Notwithstanding    the    foregoing,     Defendants   continued   to

aggressively market and promote their ParaGard IUD, without disclosing the

risks.

         227. As a proximate result of Defendants’ willful misconduct, malice,

fraud, wantonness, oppression, and entire want of care which raises the



                                         52
       Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 53 of 55




presumption of conscious indifference to consequences, Plaintiff suffered severe

and permanent physical and emotional injuries, endured pain and suffering, and

has suffered economic loss, including incurring significant expenses for medical

care and treatment, and will continue to incur such expenses in the future.

      228. Defendants’ aforesaid conduct was committed with knowing,

conscious, careless, reckless, willful, wanton, and deliberate disregard for the

rights and safety of consumers, including Plaintiff, thereby entitling Plaintiff to

punitive damages in an amount appropriate to punish Defendants and deter them

from similar conduct in the future.

      229. The Cooper Defendants are liable as successors-in-interest under the

Georgia Uniform Voidable Transactions Act, O.C.G.A. §§ 18-2-70 et seq., any other

state or federal successor in interest acts or statutes; and the Federal Consumer

Protection Act pursuant to a fraudulent conveyance or transfer of assets.

      WHEREFORE, Plaintiff demands judgment against the Defendants, jointly

and severally, for compensatory damages, for punitive damages and for costs, in an

as yet unliquidated sum in excess of $75,000.00, and such other relief as this Court

deems just and for a trial by jury on all issues as triable as a matter of right.




                                           53
      Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 54 of 55




                             PRAYER FOR RELIEF
      So far as the law and this Court allows, Plaintiff demands judgment against
each Defendant on each count as follows:
            a.     All available compensatory damages for the described losses
                   with respect to each cause of action;
            b.     Past and future medical expenses, as well as the cost associated
                   with past and future life care;
            c.     Past and future lost wages and loss of earning capacity;
            d.     Past and future emotional distress;
            e.     Consequential damages;
            f.     All available noneconomic damages, including without
                   limitation pain, suffering, and loss of enjoyment of life;
            g.     Punitive damages with respect to each cause of action;
            h.     Reasonable attorneys' fees where recoverable;
            i.     Costs of this action;
            j.     Pre-judgment and all other interest recoverable; and
            k.     Such other additional, further, and general relief as Plaintiff
                   may be entitled to in law or in equity as justice so requires.

                             DEMAND FOR JURY TRIAL

      Plaintiff hereby demands a trial by jury as to all issues.




                                           54
Case 1:20-cv-03719-WMR Document 1 Filed 09/09/20 Page 55 of 55




Dated: 9/9/2020                    By: /s/ Robert M. Hammers, Jr.
                                   Robert M. Hammers, Jr., Esq.
                                   Georgia Bar No. 337211
                                   SCHNEIDER HAMMERS LLC
                                   5555 Glenridge Connector
                                   Suite 975
                                   Atlanta, GA 30342
                                   rob@schneiderhammers.com
                                   T: (770) 394-0047
                                   F: (404) 600-2626




                              55
